       Case 4:20-cv-00329-JAJ-HCA Document 7 Filed 12/23/20 Page 1 of 8




                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


 JESSICA BENSLEY,                                       Case No. 4:20-cv-00329-JAJ-HCA

        Plaintiff,

 vs.                                                JAMIE FITZGERALD’S PRE-ANSWER
                                                    MOTION TO DISMISS AND REQUEST
 PAUL PATE, Iowa Secretary of State, and                 FOR JUDICIAL NOTICE
 JAMIE FITZGERALD, Polk County Auditor,

        Defendants.


       COMES NOW Polk County Auditor Jamie Fitzgerald, and for his Pre-Answer Motion to

Dismiss and Request for Judicial Notice, states as follows:

       1.      Plaintiff Jessica Bensley filed a Complaint and Jury Demand under 42 U.S.C.

section 1983 against Secretary of State Paul Pate and Polk County Auditor Jamie Fitzgerald.

Plaintiff alleged that her Fourth and Fourteenth Amendment rights were violated when her 2018

General Election provisional ballot was rejected.

       2.      The Complaint fails to present a justiciable cause of action against Auditor

Fitzgerald.

       3.      Auditor Fitzgerald moves to dismiss the Complaint and Jury Demand under

Federal Rule of Civil Procedure 12(b)(1)(6) as Ms. Bensley fails to state a claim upon which

relief can be granted under 42 U.S. section 1983.

       4.      Auditor Fitzgerald further requests this Court take judicial notice of Provisional

Ballot Form, Rejected Provisional Ballot Notification, and Plaintiff’s Voter File pursuant to

Federal Rule of Evidence 201. These documents are attached as Exhibits 1, 2, and 3.
       Case 4:20-cv-00329-JAJ-HCA Document 7 Filed 12/23/20 Page 2 of 8




       5.        Pursuant to Local Rule 7(d), a brief in support of this motion has been filed

contemporaneously herewith.

       WHEREFORE Defendant Polk County Auditor Jamie Fitzgerald respectfully requests

that this Court grant his Motion to Dismiss and any other relief deemed appropriate under the

circumstances.

                                               Respectfully Submitted,

                                               JOHN P. SARCONE
                                               POLK COUNTY ATTORNEY

                                               /s/ Meghan L. Gavin
                                               Meghan L. Gavin AT0008949
                                               Assistant Polk County Attorney
                                               111 Court Avenue, Ste. 340
                                               Des Moines, IA 50309
                                               Telephone: 515-286-3341
                                               Fax: 515-286-3314
                                               Meghan.Gavin@polkcountyiowa.gov

                                               ATTORNEY FOR POLK COUNTY AUDITOR
                                               JAMIE FITZGERALD




                                                  2
Provisional Ballot Envelope                                                    CaseTo4:20-cv-00329-JAJ-HCA
                                                                                      be completed by Voter Document 7 Filed 12/23/20 Page 3 of 8Statement to Person Casting a Provisional Ballot
                                                                                     Complete voter registration form. Mark ballot & seal in envelope. Return completed ballot   (To be completed by Precinct Official and given to Voter)
                                                                                     in envelope to Precinct Official.
Reason for Provisional Ballot
To be completed by Precinct Official                                                                                                                                              Voter’s Name: ____________________________________

 Precinct: _________________________________________                                                                                                                              Reason for Provisional Ballot (check all that apply):

 Election Date: ______/______/______                                                                                                                                                    Voter did not have proper identification
                                                                                                                                                                                        (see “What you need to provide” below)
 Reason for Provisional Ballot (check all that apply):
                                                                                                                                                                                       Voter did not have proper proof of residence
      Voter did not have proper identification
                                                                                                                                                                                        Absentee voter with no ballot to surrender
      Voter did not have proper proof of residence
                                                                                                                                                                                        Voter was challenged by another registered voter
      Absentee voter with no ballot to surrender                                                                                                                                        Reason:
      Voter was challenged by another registered voter                                                                                                                                 Election Day Registrant in non-pollbook precinct
      (attach the signed challenge to this envelope)
     Election Day Registrant in non-pollbook precinct
                                                                                                                                                                                  What you need to provide before your ballot will count:
                                                                                                                                                                                        Photo ID that has not expired and contains your name and picture
__________________________________________________________                                                                                                                              One of the following that has not expired: Iowa driver’s license, out-
Precinct Election Official’s Signature                                  Date                                                                                                            of-state driver’s license, non-driver ID, U.S. passport, U.S. military
                                                                                                                                                                                        ID, employer ID card, student ID issued by Iowa high school or
Affidavit of Provisional Voter                                                                                                                                                          college, or veterans ID card
To be completed by Voter                                                                                                                                                                One of the following showing your name and current address: bank
                                                                                                                                                                                        statement, paycheck, utility bill, property tax statement, residential
                                                                                                                                                                                        lease, government check, or other government document.
 Print Name:      ______________________________________
                                                                                                                                                                                        No other documents necessary
 Address: _________________________________________                                                                                                                                Deadline: _________ a.m./p.m., ______________________ (date)

 Date of birth: ______/______/______
                                                                                                                                                                                  Mail or Deliver Evidence to: _____________ , County Auditor
 Phone (optional): _________________________________
                                                                                                                                                                                  County Auditor Address: _____________________________
                                                                                                                                                                                   ________________________________________________
                                                                                                                                                                                  If proof of ID or residence is required, your provisional ballot may be
                                                                                                                                                                                  counted if you bring a copy of the identification listed above to this
                                                                                                                                                                                  precinct before the polls close today or to the county auditor at the
I do solemnly swear or affirm all of these things. I am a United States citizen,                                                                                                  above address by the above deadline. If your ballot is not counted,
at least 18 years of age. I believe that I am a registered voter of this county                                                                                                   you will be notified by mail of the reason why it was not counted.
and/or eligible to vote in this election. I have not voted and will not vote in
any other precinct in this election. If my current voter registration record indi-
cates another party affiliation or no party affiliation, I swear or affirm that I                                                                                                Your right to vote will be reviewed by the Special Precinct Board. You
have in good faith changed my previously declared party affiliation, or de-                                                                                                      have the right and are encouraged to make a written statement and sub-
clared my party affiliation, and now desire to be a member of the party indi-                                                                                                    mit additional written evidence to the Board supporting your qualifications
cated herein. I understand that any false statement in this declaration is a                                                                                                     as a registered voter.
criminal offense punishable as provided by law.
                                                                                                                                                                                                                                           EXHIBIT
                                                                                                                                                                                 _____________________________________________________________
__________________________________________________________                                                                                                                       Precinct Election Official’s Signature                                  Date
Voter’s Signature                                                       Date              Prepared by Iowa Secretary of State's Office Revised 10/2/2020                                                                                          1
        Case 4:20-cv-00329-JAJ-HCA Document 7 Filed 12/23/20 Page 4 of 8




                                  Rejected Provisional Ballot

Date:

Dear


This letter is to notify you that the provisional ballot you cast at the election held on
_____/_____/_____ has been rejected for the following reason(s):

        We asked for, but did not receive, a copy of your identification.

        You already voted in this election either at the polls or by absentee ballot.

        You do not meet all of the qualifications to be registered to vote.

        You were not registered to vote in the precinct where the provisional ballot was cast
        on Election Day.

        Other:


If you have questions, please call the county auditor’s office at

Sincerely,



County Auditor and Commissioner of Elections




Initials of member of absentee ballot and special voters precinct board: ________




                                                                                            EXHIBIT
                                                                                                2
                                        Case 4:20-cv-00329-JAJ-HCA Document 7 Filed 12/23/20 Page 5 of 8
County: Polk
                                                                      Voter Profile Report                                                   Date : 12/16/2020


                                                                            Voter ID :

Voter Information

Voter ID            Last Name                          First Name                        Middle Name           Suffix       DOB

                    BENSLEY                            JESSICA                           DAWN

Registration Information

 Party                 Democrat                        Status                   Active                 Reasons

Last Voted Date        11/03/2020                      Original Reg. Date       08/26/2009             Effective Registration Date   12/04/2018


Miscellaneous Information

Language                                               Gender          Female                          Assistance

                    Former Felon-Rights restored, Per Sec Of State.
Comments


Residence Address

Mailing Address

Absentee Addresses

Absentee Type                        Address

Election Specific
Election Specific
Election Specific


Petitions Number                     Petition Title                                                                                  Valid Signatures

Move History
Effective Date                       Residence Address
  11/14/2012
  01/17/2014
  05/08/2017
Alternate Names




I-VOTERS
                                                                                                                                       EXHIBIT            Page : 1

                                                                                                                                            3
                                      Case 4:20-cv-00329-JAJ-HCA Document 7 Filed 12/23/20 Page 6 of 8
County: Polk
                                                                      Voter Profile Report                                                      Date : 12/16/2020


                                                                                Voter ID :
Alternate Names
Last Name                          First Name                            Middle Name                        Suffix

Voting Histories
Date                               Election Description                                        Election Participated

   11/03/2020                      POLK COUNTY GENERAL ELECTION                                VOTED
   06/02/2020                      Polk County Primary Election                                VOTED
   11/05/2019                      POLK COUNTY CITY & SCHOOL ELECTION                          VOTED
   03/05/2019                      Local Option Sales Tax Special Election                     VOTED
   11/08/2016                      Polk County General Election                                VOTED

Custom Information

Contact Information

Home Phone


Audit Log

User Name          Modified Date     Effective Date               Description                      Old Value             New Value

szenti             08/24/2020        12/04/2018             New Absentee Request                                         New Absentee Request
jfitzgerald        05/05/2020        01/01/0001             Correspondence Notice                                        Voter Registration Acknowledgement
                                                                                                                         Printed/Extracted
jfitzgerald        05/04/2020        12/04/2018             New Absentee Request                                         New Absentee Request
jfitzgerald        05/04/2020        01/01/0001             Correspondence Notice                                        Voter Registration Card Requested
jfitzgerald        05/04/2020        12/04/2018             Transaction Source               State Registrar of Voters   Mail-in Registration
jfitzgerald        05/04/2020        12/04/2018             Political Party                  No Party                    Democrat
mhammer            12/06/2019        01/01/0001             Correspondence Notice                                        Registration Cancellation Notification
                                                                                                                         Printed/Extracted.
mhammer            12/06/2019        01/01/0001             Correspondence Notice                                        Registration Cancellation Notification
                                                                                                                         Requested
jchiodo            09/16/2019        09/16/2019             Split
zpaletta           02/15/2019        12/04/2018             New Absentee Request                                         New Absentee Request
rmoody             12/05/2018        01/01/0001             Correspondence Notice                                        Voter Registration Acknowledgement
                                                                                                                         Printed/Extracted
rmoody             12/04/2018        12/04/2018             Voter Status                     Cancelled                   Active
rmoody             12/04/2018        01/01/0001             Correspondence Notice                                        Voter Registration Card Requested
rmoody             12/04/2018        12/04/2018             Effective Date                   11/14/2012                  12/04/2018
rmoody             12/04/2018        12/04/2018             Voter Status Reason              Convicted Felon


I-VOTERS                                                                                                                                                      Page : 2
                             Case 4:20-cv-00329-JAJ-HCA Document 7 Filed 12/23/20 Page 7 of 8
County: Polk
                                                    Voter Profile Report                                                                Date : 12/16/2020


                                                            Voter ID :
ssteeve        09/21/2017   01/01/0001   Correspondence Notice                                                     Registration Cancellation Notification
                                                                                                                   Printed/Extracted.
ssteeve        08/01/2017   11/14/2012   Voter Status                    Active                                    Cancelled
ssteeve        08/01/2017   11/14/2012   Voter Status Reason                                                       Convicted Felon
ssteeve        08/01/2017   11/14/2012   Transaction Source              Department of Transportation              State Registrar of Voters
ssteeve        08/01/2017   01/01/0001   Correspondence Notice                                                     Registration Cancellation Notification
                                                                                                                   Requested
mamadeo        05/08/2017   01/01/0001   Correspondence Notice                                                     Voter Registration Card
                                                                                                                   Printed/Extracted.
mamadeo        05/08/2017   01/01/0001   Correspondence Notice                                                     Voter Registration Card Requested
mamadeo        05/08/2017   11/14/2012   Political Party                 Democrat                                  No Party
mamadeo        05/08/2017   11/14/2012   Split                           075.0                                     003.0
mamadeo        05/08/2017   11/14/2012   Residential Address             Std:                                      Std:
                                                                                                                   MOINES, IA 50317-4245
mamadeo        05/08/2017   11/14/2012   District                        Des Moines 075                            Des Moines 003
mamadeo        05/08/2017   11/14/2012   Transaction Source              NCOA                                      Department of Transportation
jchiodo        02/11/2014   01/01/0001   Correspondence Notice                                                     Voter Registration Card
                                                                                                                   Printed/Extracted.
jchiodo        02/11/2014   02/11/2014   Correspondence Notice                                                     Voter Registration Card Requested
mamadeo        01/17/2014   01/17/2014   Notification
mamadeo        01/17/2014   11/14/2012   Transaction Source              Election Day                              NCOA
mamadeo        01/17/2014   11/14/2012   Residential Address             Std:                              ,       Std:
                                                                                                                   DES MOINES, IA 50320-1835
mamadeo        01/17/2014   11/14/2012   Split                           078.0                                     075.0
mamadeo        01/17/2014   11/14/2012   District                        Des Moines 078                            Des Moines 075
hbouten        11/26/2012   01/01/0001   Correspondence Notice                                                     Printed/Extracted.
hbouten        11/26/2012   01/01/0001   Correspondence Notice                                                     Printed/Extracted.
hbouten        11/14/2012   11/14/2012   Residential Address             Std:                                  ,   Std:
                                                                                                                   MOINES, IA 50315
hbouten        11/14/2012   11/14/2012   Voter Status Reason             Inactive to Cancelled
hbouten        11/14/2012   11/14/2012   District                        Des Moines 018                            Des Moines 078
hbouten        11/14/2012   11/14/2012   Effective Date                  08/26/2009                                11/14/2012
hbouten        11/14/2012   01/01/0001   Correspondence Notice                                                     Voter Registration Card Requested
hbouten        11/14/2012   11/14/2012   Source of Update                Duplicate Registration Received           Administrative
hbouten        11/14/2012   11/14/2012   Transaction Source              Administrative Action                     Election Day
hbouten        11/14/2012   11/14/2012   Voter Status                    Cancelled                                 Active
hbouten        11/14/2012   11/14/2012   Split                           018.0                                     078.0

I-VOTERS                                                                                                                                                Page : 3
                             Case 4:20-cv-00329-JAJ-HCA Document 7 Filed 12/23/20 Page 8 of 8
County: Polk
                                                    Voter Profile Report                                                       Date : 12/16/2020


                                                            Voter ID :
hbouten        11/14/2012   11/14/2012   Election Day Registration                                        11/6/2012
jchiodo        03/05/2012   03/05/2012   Split                           Districts Added: 750000511
jchiodo        01/23/2012   01/23/2012   Split                           Districts Added: 6403
mscione        12/29/2011   12/29/2011   Split                           040.0                            018.0
mscione        12/29/2011   12/29/2011   District                        DM 040                           DM 018
jchiodo        12/19/2011   12/19/2011   Split                           Districts Added: 6404, 6398,
                                                                         100000153, 100000073
rmoody         01/08/2010   01/01/0001   Correspondence Notice                                            No Activity in 4 Years
                                                                                                          Printed/Extracted.
rmoody         01/08/2010   08/26/2009   Voter Status Reason             Returned Mail                    Inactive to Cancelled
rmoody         01/08/2010   08/26/2009   Transaction Source              Returned Mail                    Administrative Action
rmoody         01/08/2010   08/26/2009   Voter Status                    Inactive                         Cancelled
rmoody         01/08/2010   01/01/0001   Correspondence Notice                                            No Activity in 4 Years Requested
jburke         09/14/2009   08/26/2009   Source of Update                                                 Duplicate Registration Received
jburke         09/14/2009   08/26/2009   Transaction Source              In-Office / Registration Drive   Returned Mail
jburke         09/14/2009   08/26/2009   Voter Status                    Active                           Inactive
jburke         09/14/2009   08/26/2009   Voter Status Reason                                              Returned Mail
balthaus       08/31/2009   08/31/2009   Correspondence Notice                                            Printed/Extracted.
balthaus       08/26/2009   08/26/2009   New Voter Record                                                 New voter record created
balthaus       08/26/2009   08/26/2009   Correspondence Notice                                            Voter Registration Card Requested




I-VOTERS                                                                                                                                      Page : 4
